     Case 1:15-cv-02196-CCC Document 124-3 Filed 04/03/17 Page 1 of 9




         GENERAL SETTLEMENT AND RELEASE AGREEMENT

      THIS AGREEMENT (the “Release Agreement”) is made by and between Utz
Quality Foods, Inc. (“Utz”) and Jason Swiger and Julio Cruz (“FLSA Class
Representatives”).

     NOW, THEREFORE, IT IS HEREBY AGREED, by and between Utz and
FLSA Class Representatives (referred to together as the “Parties”) as follows:

        1.    Release of Claims.         Except as provided below, FLSA Class
Representatives hereby fully waive, discharge, and release any and all claims
relating to or arising out of their employment with Utz, of whatever nature, known
or unknown, that they may have against Utz, its parent, subsidiary and affiliated
companies, and in the case of all such entities, their respective past and present
officers, directors, employees, agents, predecessors, shareholders, partners,
successors, assigns, heirs, executors and administrators (collectively referred to as
the “Utz Released Parties”) as a result of actions or omissions occurring through the
date FLSA Class Representatives execute this Release Agreement, subject to the
provisions set forth below. Specifically included in this waiver and release are any
and all claims of alleged employment discrimination, any and all claims for unpaid
wages or unpaid overtime compensation pursuant to the Fair Labor Standards Act,
29 U.S.C. § 201, et seq., and/or any other federal, state, or local statute, common
law, or regulation, including, but not limited to the Employee Retirement Income
Security Act of 1974, 29 U.S.C. §§ 1001, et seq. (“ERISA”). FLSA Class
Representatives understand that this release includes, but is not limited to all claims
that were asserted or could have been asserted in the Civil Action, including all
collective or class claims. FLSA Class Representatives further understand that this
release includes all claims relating to or arising out of the same transaction, series of
connected transactions, occurrences or nucleus of operative facts that form the basis
of the claims that were or could have been asserted in the Civil Action, and any
claims challenging the practices that gave rise to the claims asserted in the Civil
Action. FLSA Class Representatives further understand that this release includes all
claims that relate to their employment with Utz, including without limitations claims
that were asserted or could have been asserted in the Civil Action, including all
claims for monetary damages, compensatory damages, punitive damages, front pay,
back pay, liquidated damages, penalties, and all forms of injunctive, declaratory or
equitable relief, and costs and attorneys’ fees, whether arising under any federal,
state, local or common laws or regulations.




                                                                                            Exhibit B
      Case 1:15-cv-02196-CCC Document 124-3 Filed 04/03/17 Page 2 of 9




       2.     In consideration for signing this Release Agreement and the fulfillment
of the promises herein, FLSA Class Representatives understand that within the time
period provided in the Class Action Settlement Agreement, Utz will pay them each
the gross sum of Fifteen Thousand Dollars ($15,000.00). An IRS form 1099-Misc.
shall be issued to each of them reflecting this payment. FLSA Class Representatives
expressly acknowledge and warrant that they are, and shall be, responsible for all
federal, state, and local tax liabilities that may result from the payments described in
this paragraph 2, and FLSA Class Representatives hereby warrant that the Utz
Released Parties shall bear no responsibility for any such tax liabilities.

       3.    This Release Agreement together with the Class Action Settlement
Agreement constitutes the entire agreement between the Parties regarding the subject
matter therein. No amendment, modification, change, or alteration of this Release
Agreement shall be valid or binding unless signed by FLSA Class Representatives
and Utz. The Class Action Settlement Agreement cannot be amended, changed,
altered, or modified except in accordance with the Class Action Settlement
Agreement.

       4.    The settlement reflected in the Class Action Settlement Agreement and
this General Settlement and Release Agreement shall not in any way be construed
as an admission by the Utz Released Parties of any liability or acts of wrongdoing,
which liability and responsibility for damages are specifically denied.


I HEREBY ACKNOWLEDGE THAT I HAVE CAREFULLY READ THIS
RELEASE AGREEMENT AND KNOW AND UNDERSTAND THE CONTENTS
AND THAT I EXECUTE THIS RELEASE KNOWINGLY AND
VOLUNTARILY:



Dated: ________________          JASON SWIGER

                                 ____________________________________

Dated: ________________          JULIO CRUZ

                                 _____________________________________


                                           2
     Case 1:15-cv-02196-CCC Document 124-3 Filed 04/03/17 Page 3 of 9




Dated: ________________     UTZ QUALITY FOODS, INC.

                            ________________________________________

                            By:_____________________________________

                            Its:_____________________________________




                                    3
       Case 1:15-cv-02196-CCC Document 124-3 Filed 04/03/17 Page 4 of 9




         GENERAL SETTLEMENT AND RELEASE AGREEMENT

      THIS AGREEMENT (the “Release Agreement”) is made by and between Utz
Quality Foods, Inc. (“Utz”), Julia Williams, Tom Holt, and Nicholas DeRose (“Rule
23 Class Representatives”).

      NOW, THEREFORE, IT IS HEREBY AGREED, by and between Utz and
Rule 23 Class Representatives (referred to together as the “Parties”) as follows:

        1.    Release of Claims. Except as provided below, Rule 23 Class
Representatives hereby fully waive, discharge, and release any and all claims
relating to or arising out of their employment with Utz, of whatever nature, known
or unknown, that they may have against Utz, its parent, subsidiary and affiliated
companies, and in the case of all such entities, their respective past and present
officers, directors, employees, agents, predecessors, shareholders, partners,
successors, assigns, heirs, executors and administrators (collectively referred to as
the “Utz Released Parties”) as a result of actions or omissions occurring through the
date Rule 23 Class Representatives execute this Release Agreement, subject to the
provisions set forth below. Specifically included in this waiver and release are any
and all claims of alleged employment discrimination, any and all claims for unpaid
wages or unpaid overtime compensation pursuant to the Fair Labor Standards Act,
29 U.S.C. § 201, et seq., and/or any other federal, state, or local statute, common
law, or regulation, including, but not limited to the Employee Retirement Income
Security Act of 1974, 29 U.S.C. §§ 1001, et seq. (“ERISA”). Rule 23 Class
Representatives understand that this release includes, but is not limited to all claims
that were asserted or could have been asserted in the Civil Action, including all
collective or class claims. Rule 23 Class Representatives further understand that this
release includes all claims relating to or arising out of the same transaction, series of
connected transactions, occurrences or nucleus of operative facts that form the basis
of the claims that were or could have been asserted in the Civil Action, and any
claims challenging the practices that gave rise to the claims asserted in the Civil
Action. Rule 23 Class Representatives further understand that this release includes
all claims that relate to their employment with Utz, including without limitations
claims that were asserted or could have been asserted in the Civil Action, including
all claims for monetary damages, compensatory damages, punitive damages, front
pay, back pay, liquidated damages, penalties, and all forms of injunctive, declaratory
or equitable relief, and costs and attorneys’ fees, whether arising under any federal,
state, local or common laws or regulations.
      Case 1:15-cv-02196-CCC Document 124-3 Filed 04/03/17 Page 5 of 9




        2.   In consideration for signing this Release Agreement and the fulfillment
of the promises herein, Rule 23 Class Representatives understand that within the
time period provided in the Class Action Settlement Agreement, Utz will pay them
each the gross sum of Five Hundred Dollars ($500.00). An IRS form 1099-Misc.
shall be issued to each of them reflecting this payment. Rule 23 Class
Representatives expressly acknowledge and warrant that they are, and shall be,
responsible for all federal, state, and local tax liabilities that may result from the
payments described in this paragraph 2, and Rule 23 Class Representatives hereby
warrant that the Utz Released Parties shall bear no responsibility for any such tax
liabilities.

       3.    This Release Agreement together with the Class Action Settlement
Agreement constitutes the entire agreement between the Parties regarding the subject
matter therein. No amendment, modification, change, or alteration of this Release
Agreement shall be valid or binding unless signed by Rule 23 Class Representatives
and Utz. The Class Action Settlement Agreement cannot be amended, changed,
altered, or modified except in accordance with the Class Action Settlement
Agreement.

       4.    The settlement reflected in the Class Action Settlement Agreement and
this General Settlement and Release Agreement shall not in any way be construed
as an admission by the Utz Released Parties of any liability or acts of wrongdoing,
which liability and responsibility for damages are specifically denied.

I HEREBY ACKNOWLEDGE THAT I HAVE CAREFULLY READ THIS
RELEASE AGREEMENT AND KNOW AND UNDERSTAND THE CONTENTS
AND THAT I EXECUTE THIS RELEASE KNOWINGLY AND
VOLUNTARILY:

Dated: ________________          JULIA WILLIAMS
                                 Maryland Rule 23 Class Representative

                                 _____________________________________


Dated: ________________          TOM HOLT
                                 North Carolina Rule 23 Class Representative

                                 _____________________________________

                                          2
     Case 1:15-cv-02196-CCC Document 124-3 Filed 04/03/17 Page 6 of 9




Dated: ________________     NICHOLAS DEROSE
                            New Jersey Rule 23 Class Representative

                            _____________________________________


Dated: ________________     UTZ QUALITY FOODS, INC.

                            ________________________________________

                            By:_____________________________________

                            Its:_____________________________________




                                    3
      Case 1:15-cv-02196-CCC Document 124-3 Filed 04/03/17 Page 7 of 9




         GENERAL SETTLEMENT AND RELEASE AGREEMENT

      THIS AGREEMENT (the “Release Agreement”) is made by and between Utz
Quality Foods, Inc. (“Utz”), and Jamie Wallet, Steven Cosentine, Anthony
Biondino, Charles Shakal, and Jeremy Weaver (“Discovery Class Representatives”).

     NOW, THEREFORE, IT IS HEREBY AGREED, by and between Utz and
Discovery Class Representatives (referred to together as the “Parties”) as follows:

       1.     Release of Claims. Except as provided below, Discovery Class
Representatives hereby fully waive, discharge, and release any and all claims
relating to or arising out of their employment with Utz, of whatever nature, known
or unknown, that they may have against Utz, its parent, subsidiary and affiliated
companies, and in the case of all such entities, their respective past and present
officers, directors, employees, agents, predecessors, shareholders, partners,
successors, assigns, heirs, executors and administrators (collectively referred to as
the “Utz Released Parties”) as a result of actions or omissions occurring through the
date Discovery Class Representatives execute this Release Agreement, subject to the
provisions set forth below. Specifically included in this waiver and release are any
and all claims of alleged employment discrimination, any and all claims for unpaid
wages or unpaid overtime compensation pursuant to the Fair Labor Standards Act,
29 U.S.C. § 201, et seq., and/or any other federal, state, or local statute, common
law, or regulation, including, but not limited to the Employee Retirement Income
Security Act of 1974, 29 U.S.C. §§ 1001, et seq. (“ERISA”). Discovery Class
Representatives understand that this release includes, but is not limited to all claims
that were asserted or could have been asserted in the Civil Action, including all
collective or class claims. Discovery Class Representatives further understand that
this release includes all claims relating to or arising out of the same transaction,
series of connected transactions, occurrences or nucleus of operative facts that form
the basis of the claims that were or could have been asserted in the Civil Action, and
any claims challenging the practices that gave rise to the claims asserted in the Civil
Action. Discovery Class Representatives further understand that this release
includes all claims that relate to their employment with Utz, including without
limitations claims that were asserted or could have been asserted in the Civil Action,
including all claims for monetary damages, compensatory damages, punitive
damages, front pay, back pay, liquidated damages, penalties, and all forms of
injunctive, declaratory or equitable relief, and costs and attorneys’ fees, whether
arising under any federal, state, local or common laws or regulations.
      Case 1:15-cv-02196-CCC Document 124-3 Filed 04/03/17 Page 8 of 9




       2.     In consideration for signing this Release Agreement and the fulfillment
of the promises herein, Discovery Class Representatives understand that within the
time period provided in the Class Action Settlement Agreement, Utz will pay them
each the gross sum as follows: Four Hundred Fifty Dollars ($450.00) to Anthony
Biondino, Charles Shakal, and Jeremy Weaver and Five Hundred Dollars ($500.00)
to Jamie Wallet and Steven Consentine. An IRS form 1099-Misc. shall be issued to
each of them reflecting this payment. Discovery Class Representatives expressly
acknowledge and warrant that they are, and shall be, responsible for all federal, state,
and local tax liabilities that may result from the payments described in this paragraph
2, and Discovery Class Representatives hereby warrant that the Utz Released Parties
shall bear no responsibility for any such tax liabilities.

      3.     This Release Agreement together with the Class Action Settlement
Agreement constitutes the entire agreement between the Parties regarding the subject
matter therein. No amendment, modification, change, or alteration of this Release
Agreement shall be valid or binding unless signed by Discovery Class
Representatives and Utz. The Class Action Settlement Agreement cannot be
amended, changed, altered, or modified except in accordance with the Class Action
Settlement Agreement.

       4.    The settlement reflected in the Class Action Settlement Agreement and
this General Settlement and Release Agreement shall not in any way be construed
as an admission by the Utz Released Parties of any liability or acts of wrongdoing,
which liability and responsibility for damages are specifically denied.

I HEREBY ACKNOWLEDGE THAT I HAVE CAREFULLY READ THIS
RELEASE AGREEMENT AND KNOW AND UNDERSTAND THE CONTENTS
AND THAT I EXECUTE THIS RELEASE KNOWINGLY AND
VOLUNTARILY:


Dated: ________________          JAMIE WALLET

                                 _____________________________________


Dated: ________________          STEVEN COSENTINE

                                 _____________________________________

                                           2
     Case 1:15-cv-02196-CCC Document 124-3 Filed 04/03/17 Page 9 of 9




Dated: ________________     ANTHONY BIONDINO


                            _____________________________________


Dated: ________________     CHARLES SHAKAL


                            _____________________________________



Dated: ________________     JEREMY WEAVER


                            _____________________________________


Dated: ________________     UTZ QUALITY FOODS, INC.

                            ________________________________________

                            By:_____________________________________

                            Its:_____________________________________




                                    3
